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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

WILLIMINIA WHEATON, on behalf               *
of all surviving heirs, and on behalf       *
of ROSIE L. WHEATON, Deceased,              *
                                            *       MDL Docket No. 1657
              Plaintiff,                    *
                                            *       In re: VIOXX PRODUCTS
v.                                          *       LIABILITY LITIGATION
                                            *
MERCK & COMPANY, INC., et al.,              *       CASE NO. 05-00496
                                            *
              Defendants.                   *


(THIS DOCUMENT RELATES TO: Janet Sue Morgan, et al. vs. Merck & Co, Inc.; Civil
Action No. 3:03cv435, MDL no. 05-0957)


          PLAINTIFF’S UNOPPOSED MOTION FOR LEAVE TO
      AMEND COMPLAINT AND MOTION TO SUBSTITUTE PLAINTIFF

       COMES NOW the Plaintiff, Willimina Wheaton, pursuant to Rules 15(a) and

25(a), F.R.Civ.P., and respectfully requests this Court for leave to amend the Complaint

previously filed in this cause by substituting “Willimina Wheaton, on behalf of all

surviving heirs and on behalf of Rosie L. Wheaton, Deceased,” for Rosie L. Wheaton,

and by amending the Complaint to appropriately state causes of action against the

Defendant Merck & Co., Inc. as a result of Rosie L. Wheaton’s death.

       1.      This cause was originally filed in the United States District Court,

Southern District of Mississippi, Jackson Division, on June 13, 2003 and was transferred

to the U.S. District Court for the Eastern District of Louisiana. Rosie L. Wheaton was a

named Plaintiff in the lawsuit styled Janet Sue Morgan, et al. vs. Merck & Co, Inc.; Civil

Action No. 3:03cv435. Rosie L. Wheaton died March 19, 2005. Willimina Wheaton is

Rosie L. Wheaton’s daughter.



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       2.      A suggestion of death has been filed on the record and this motion to

substitute Plaintiff is brought within ninety (90) days in accordance with Rule 25(a)(1),

F.R.Civ.P.

       3.      Rosie L. Wheaton is survived by her children: Willimina Wheaton, Mary

L. Townsend, Deloise Johnson, Nannie Ross, Elva Fountain, William E. Wheaton, Annie

J. Snow, Earnest E. Wheaton, Samuel E. Wheaton, and James R. Wheaton. Willimina

Wheaton brings this action on behalf of all surviving heirs, for injuries suffered to and for

the death of Rosie L. Wheaton, as permitted under Mississippi law.

       4.      The amended complaint filed herewith more completely and correctly sets

forth the claims recoverable under Mississippi law as a result of the injuries caused to and

the death of Rosie L. Wheaton, resulting from her ingestion of Vioxx® (Rofecoxib), and

more completely and correctly sets forth the claims of the survivors, as named above.

       5.      Rule 15(a), Fed.R.Civ.P., states that leave to amend shall be freely granted

when justice so requires. Plaintiff, through her counsel, has acted timely to amend the

complaint to set forth the proper identity of the Plaintiff and to bring all claims

recoverable on behalf of the surviving heirs as a result of the death of Rosie L. Wheaton,

deceased.

       6.      A trial date has not been set in this cause.

       7.      Defendant Merck will not be unduly prejudiced by the amendment of the

Complaint in this case.

       8.      Defendant Merck has no objection to the motion for leave to amend

complaint and the motion to substitute but specifically reserves and it not waiving (a) any

affirmative defenses, including, but not limited to, any statute-of-limitations defenses,




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regarding the original complaint or any amended complaint and (b) any arguments

regarding whether any amendment or substitution relates back.




       RESPECTFULLY SUBMITTED this the _19th day of July, 2007.




                                        By: ___/s/ Benjamin L. Locklar____________
                                           ANDY D. BIRCHFIELD, JR. (BIR006)
                                           BENJAMIN L. LOCKLAR (LOC009)
                                           Attorneys for the Plaintiffs


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                            CERTIFICATE OF SERVICE

         I hereby certify that I have served a copy of the foregoing document upon all
counsel of record as listed below by placing a copy of same in the United States Mail,
first class, postage prepaid and upon all other interested parties through LexisNexis, as
required by the Court’s Pretrial Order #8, on this the _19th day of July, 2007.

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                                     _____/s/ Benjamin L. Locklar________________
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